               Case: 2:14-cr-00016-JLG Doc #: 25 Filed: 05/19/14 Page: 1 of 6 PAGEID #: 44
AO 245B (Rev. 09/08) Sheet 1 - Judgment in a Criminal Case



                                    United States District Court
                                    Southern District of Ohio at Columbus

          UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                     v.
                                                                     Case Number:               2:14-cr-016-1
                Allen Jerome McBride
                                                                     USM Number:                66538-061

                                                                     Zenaida R. Lockard, Esq.
                                                                     Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to count(s): 1 of the Information .
[]       pleaded nolo contendere to counts(s)         which was accepted by the court.
[]       was found guilty on count(s)       after a plea of not guilty.

The Court has accepted a Rule 11(c)(1)(A) charge agreement because it is satisfied that the agreement adequately
reflects the seriousness of the actual offense behavior and that accepting the plea agreement will not undermine the
statutory purposes of sentencing.

         The defendant is adjudicated guilty of these offense(s):

Title & Section                      Nature of Offense                                  Offense Ended             Count
18 U.S.C. §751(a)                    Escape                                              09/29/2013                 1




       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)        .

[]       Count(s)       (is)(are) dismissed on the motion of the United States.

        IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and the United States Attorney of
material changes in the defendant’s economic circumstances.

                                                                                         05/16/2014
                                                                               Date of Imposition of Judgment


                                                                                      s/James L. Graham
                                                                                  Signature of Judicial Officer

                                                                JAMES L. GRAHAM, United States Senior District Judge
                                                                          Name & Title of Judicial Officer

                                                                                            05/19/2014
                                                                                               Date
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AO 245B (Rev. 09/08) Sheet 2 - Imprisonment
CASE NUMBER:               2:14-cr-016-1                                                                  Judgment - Page 2 of 6
DEFENDANT:                 Allen Jerome McBride


                                                          IMPRISONMENT
         The defendant is hereby sentenced to a term of time served .



[]       The court makes the following recommendations to the Bureau of Prisons:



[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before 2:00 p.m. on        .
         [ ] as notified by the United States Marshal but no sooner than
         [ ] as notified by the Probation or Pretrial Services Office.

                                                                 RETURN
I have executed this judgment as follows:




         Defendant delivered on                                       to

at                                            , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL


                                                                                          By
                                                                                                  Deputy U.S. Marshal
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AO 245B (Rev. 09/11) Sheet 3 - Supervised Release
CASE NUMBER:                2:14-cr-016-1                                                                               Judgment - Page 3 of 6
DEFENDANT:                  Allen Jerome McBride


                                                    SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of Three (3) Years to run concurrent
to the term of supervised release imposed in Dkt. #2:05-cr-055(2).



The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the Court.

[]       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
         applicable.)
[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
[]       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
         is a student, as directed by the probation officer. (Check, if applicable.)
[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
      any contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court; and
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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AO 245B (Rev. 09/11) Sheet 3 - Supervised Release
CASE NUMBER:               2:14-cr-016-1                                                       Judgment - Page 4 of 6
DEFENDANT:                 Allen Jerome McBride




                          SPECIAL CONDITIONS OF SUPERVISED RELEASE
     The defendant shall participate in a program of testing and treatment for alcohol and controlled substance
     abuse, as directed by the U.S. Probation Office, until such time as the defendant is released from the
     program by the probation office. The defendant will make a co-payment for treatment services not to
     exceed $25 per month, which is determined by the defendant’s ability to pay.
                Case: 2:14-cr-00016-JLG Doc #: 25 Filed: 05/19/14 Page: 5 of 6 PAGEID #: 48
AO 245B (Rev. 09/08) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:14-cr-016-1                                                                                      Judgment - Page 5 of 6
DEFENDANT:                    Allen Jerome McBride


                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                            Fine                      Restitution
      Totals:                                         $ 100.00                             $0                           $0



[]    The determination of restitution is deferred until . An amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

[]    The defendant must make restitution (including community restitution) to the following payees in the amounts listed
      below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment unless
      specified otherwise in the priority order of percentage payment column below. However, pursuant to 18 U.S.C. §
      3664(i), all nonfederal victims must be paid before the United States is paid.

                                                         *Total
Name of Payee                                             Loss                   Restitution Ordered          Priority or Percentage

      TOTALS:                                            $                                $


[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant must pay interest on restitution and a fine of more than $2500, unless the restitution or fine is paid in
      full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on
      Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived for the              [] fine      [] restitution.

      [ ] The interest requirement for the           [] fine       [] restitution is modified as follows:




 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994 but before April 23, 1996.
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AO 245B (Rev. 09/08) Sheet 6 - Criminal Monetary Penalties
CASE NUMBER:                2:14-cr-016-1                                                                             Judgment - Page 6 of 6
DEFENDANT:                  Allen Jerome McBride

                                              SCHEDULE OF PAYMENTS
     Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    [U] Lump sum payment of $ 100.00 due immediately, balance due

           [ ] not later than or
           [ ] in accordance with       [ ] C,    [ ] D, [ ] E, or   [ ] F below; or

B    []    Payment to begin immediately (may be combined with             [] C         [ ] D, or   [ ] F below); or

C    []    Payment in equal installments of $ over a period of , to commence days after the date of this judgment; or

D    []    Payment in equal installments of $ over a period of , to commence days after release from imprisonment to a
           term of supervision; or

E    []    Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
           imprisonment. The Court will set the payment plan based on an assessment of the defendant's ability to pay at
           that time; or

F    []    Special instructions regarding the payment of criminal monetary penalties:

     []    If the defendant, while incarcerated, is working in a non-UNICOR or grade 5 UNICOR job, the defendant shall
           pay $25.00 per quarter toward defendant's monetary obligation. If working in a grade 1-4 UNICOR job, defendant
           shall pay 50% of defendant's monthly pay toward defendant's monetary obligation. Any change in this schedule
           shall be made only by order of this Court.

     []    After the defendant is released from imprisonment, and within 30 days of the commencement of the term of
           supervised release, the probation officer shall recommend a revised payment schedule to the Court to satisfy
           any unpaid balance of the monetary penalty. The Court will enter an order establishing a schedule of payments.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal penalties, except those payments made through the Federal Bureau of
Prisons' Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several (Defendant and Co-Defendant names and Case Numbers, Total Amount, Joint and Several Amount and corresponding
     payee, if appropriate.):

[]   The defendant shall pay the cost of prosecution.
[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine
principal; (5) fine interest; (6) community restitution; (7) penalties; and (8) costs, including cost of prosecution and court
costs.
